        Case 1:18-md-02865-LAK Document 261 Filed 01/23/20 Page 1 of 6




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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Inre

CUSTOMS AND TAX ADMINISTRATION OF THE
KINGDOM OF DENMARK (SKAT) TAX REFUND                                        18-md-2865 (LAK)
LITIGATION

This paper applies to: 18-cv-9797; 18-cv-9836;
18-cv-9837; 18-cv-9838; 18-cv-9839; 18-cv-9840;
18-cv-9841.
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                                MEMORANDUM OPINION

                             Appearances:

                                    William R. Maguire
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LEWIS A. KAPLAN, District Judge.

              In response to SKAT' s complaints against them, each of the Utah Plans raised

materially identical counterclaims against SKAT under Utah law for unjust enrichment and

promissory estoppel. Each alleges that SKAT, an agency of Denmark responsible, pursuant to a

treaty between the United States and Denmark, forrefunding Danish withholding taxes on dividends

paid to certain U.S. shareholders of Danish companies, unlawfully refused to refund the
           Case 1:18-md-02865-LAK Document 261 Filed 01/23/20 Page 2 of 6




                                                                                                       2

counterclaimant for at least one such tax. 1

                SKAT moved to dismiss the counterclaims on the grounds that they are barred by the

act of state doctrine and that the Utah Plans failed to state a claim under Utah law. 2



                                               Discussion

I      Act ofState Doctrine

               Under the act of state doctrine,

               "the Judicial Branch will not examine the validity of a taking of property within its
               own territory by a foreign sovereign govermnent, extant and recognized by this
               country at the time of suit, in the absence of a treaty or other unambiguous agreement
               regarding controlling legal principles, even if the complaint alleges that the taking
               violates customary international law."'

               The act of state doctrine applies here. Holding that an agency of Denmark unlawfully

denied an application for a tax refund would require examining the validity of a sovereign act by the

Danish government in Denmark. Although the Utah Plans refer to the treaty between the United

States and Denmark, they do not argue that it or any other unambiguous agreement supplies

controlling legal principles.

               The Utah Plans raise several arguments against applying the act of state doctrine.

They contend first that it would be unfair to allow SKAT to pursue claims against them while barring



               See Declaration of Marc. A. Weinstein Exs. 1-9 [DI-182] (collecting the complaints); see,
               e.g., Ex. 1 ,r,r 9, 44-59.
       2

               The parties assume that Utah law applies here. I make the same assumption.
       3

               Empresa Cubana Exportadora De Azucar y Sus Derivados v. Lamborn & Co., 652 F.2d
               231,237 (2d Cir. 1981) (quotingBancoNacional de Cubav. Sabbatino, 376 U.S. 398,428
               (1964)).
           Case 1:18-md-02865-LAK Document 261 Filed 01/23/20 Page 3 of 6




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counterclaims that they believe are compulsory. However, "[t]he [Supreme Court] has ... faced and

rejected the argument that a sovereign plaintiff [that] voluntarily brings an action in American courts

should ... be stripped of its right to invoke the act of state doctrine as a defense to a counterclaim."4

Any potential unfairness therefore is legally unavailing.

                The Utah Plans' more substantial challenge is that the Bernstein exception to the act

of state doctrine should allow them to proceed with their counterclaims. In Bernstein, the Second

Circuit, "as an exception to the act of state doctrine," authorized an "adjudication of the validity of

acts of the Nazi government ofGeimany ... after receiving advice from the Acting Legal Advisor

to the State Department that" the executive branch did not oppose the adjudication.' As the court

later explained, "Bernstein arose out of a unique set of circumstances calling for special treatment,

and hence should be narrowly construed and, insofar as is possible, limited to its facts. " 6

                Moreover, in the context of counterclaims against a foreign state plaintiff, the Second

Circuit since has held that,

                "where (1) the Executive Branch has provided a Bernstein letter advising the courts
                that it believes act of state doctrine need not be applied, (2) there is no showing that
                an adjudication of the claim will interfere with delicate foreign relations, and (3) the
                claim against the foreign sovereign is asserted by way of counterclaim and does not
                exceed the value of the sovereign's claim, adjudication of the counterclaim for



       4

                Empresa Cubana, 652 F.2d at 238 (citing Sabbatino, 376 U.S. at 438-39).
       5

                Banco Nacional de Cuba v. Chase Manhattan Bank, 658 F.2d 875, 882 (2d Cir. 1981)
                (citation omitted); see also Bernstein v. N. V. Nederlandsche-Amerikaansche,
                Stoomvaart-Maatschappij, 210 F.2d 375 (2d Cir. 1954).
       6

                Banco Nacional de Cuba v. First Nat. City Bank ofNew York, 442 F.2d 530, 534 (2d Cir.
                1971), rev'd on other grounds, First Nat. City Bankv. Banco Nacional de Cuba, 406 U.S.
                759 (1972).
           Case 1:18-md-02865-LAK Document 261 Filed 01/23/20 Page 4 of 6




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               expropriation of the defendant's property is not barred by the act of state doctrine."7

               To satisfy the Bernstein letter requirement, the Utah Plans point to letters that the

executive branch wrote in 1970 and 197 5 and submitted in certain Cuban expropriation cases then

pending before the Supreme Court. From these letters, the Utah Plans would have the Court draw a

general principle that the executive branch never opposes the adjudication of compulsory

counterclaims against a foreign state plaintiff where the counterclaims arise from the same

transaction or occurrence as the foreign state's claims.

               The parties have not adequately briefed the question of whether this in fact was the

executive branch's position or whether the letters were specific to the cases for which they were

written. Nor have the parties adequately briefed the separate question of whether, even if those

letters written for particular cases were intended to apply generally, the Second Circuit's requirement

that the executive branch provide a Bernstein letter requires a case-specific letter. But even

assuming these problems away, the Court could not apply the Bernstein exception on this record.

The idea behind the Bernstein exception is that the act of state doctrine's comity goals are not

advanced where the executive branch has indicated that federal courts would not interfere with

foreign policy by passing on certain acts of a foreign state. A letter from the executive branch is the

best evidence of its view, particularly where such a letter was written for and about the case at hand.

It is perhaps out of an abundance of caution and respect for the executive branch's primacy in the

realm of foreign relations that the Second Circuit is unwilling to apply the Bernstein exception

absent such a letter. That same caution is appropriate here, where the only evidence of whether the



       7

               Chase Manhattan Bank, 658 F.2d at 884.
           Case 1:18-md-02865-LAK Document 261 Filed 01/23/20 Page 5 of 6




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executive branch would suspend the act of state doctrine is two letters from the 1970s written in the

context of Cuban expropriation claims.

                The Utah Plans have offered no evidence whatsoever that the current administration

holds the general views on compulsory counterclaims that the Utah Plans would have the Court

attribute to the Nixon and Ford administrations. Moreover, it is entirely possible that between 1975

and 2019, any of the eight administrations that occupied the executive branch took a different

position in some letter of policy of which the Court is not aware. It is clear also that different policy

considerations might apply where a defendant raises counterclaims in 2019 against Denmark, an ally

of the United States, and Cuba, with which the United States did not have diplomatic relations in the

1970s. The Utah Plans fail to address this possible distinguishing factor and, again, offer no

evidence as to the executive's current position, let alone its view on these particular cases.



fl      Utah Law

                SKAT moves to dismiss also on the ground that the Utah Plans have not stated claims

for promiss01y estoppel and unjust enrichment under Utah law. The Court agrees as to promissory

estoppel, as Utah law requires that a promise be "reasonably certain and definite." 8 "[P]ast practice,

custom, or performance does not constitute a clear and definite promise expected to induce reliance

that is necessary to support a claim for promissory estoppel. Rather, [a claimant] must point to some

affirmative statement made by [the defendant]."' The Utah Plans have pointed only to SKAT's

       8

               See Nunley v. Westates Casing Servs., Inc., 989 P.2d 1077, 1089 (Utah 1999).
       9

               Glob. Fitness Holdings, LLC v. Fed. Recovery Acceptance, Inc., 127 F. Supp. 3d 1228,
               1242 (D. Utah 2015); see also Nunley, 989 P.2d at 1089 ("[A] claimant's subjective
              Case 1:18-md-02865-LAK Document 261 Filed 01/23/20 Page 6 of 6




                                                                                                            6

practice of processing refund applications pursuant to the United States-Denmark treaty. 10 Nothing

in Utah law that they have identified suggests that this practice constituted a promise. 11




                                                 Conclusion

                  The motion to dismiss the Utah Plans' counterclaims [DI-179] is granted. 12

                  SO ORDERED.


Dated:            January 23, 2020




                                                               United States District Judge




                  understanding of the promissor' s statements cannot, without more, support a promissory
                  estoppel claim.").
         10

                  See, e.g., Declaration of Marc. A. Weinstein Ex. I [DI-182] ,r,r 51-52 (characterizing
                  SKAT's "promise" as "the process by which it would receive, review, and either deny or
                  accept applications for dividend-withholding taxes pursuant to the U.S.-Denmark Tax
                  Treaty" and "SKAT' s prior course of conduct, its practices, policies, and procedures" where
                  certain supporting documents were submitted with the refund application).
         11

                  A more detailed discussion will be found in a subsequent opinion addressing whether
                  counterclaimants raising similar claims under New York law stated a claim against SKAT
                  in the absence of a requisite "clear and unambiguous promise."
         12

                  As I do not reach SKAT' s remaining grounds for dismissal, I express no opinion on their
                  validity.
